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  Proposed Counsel to the Official Committee of
  Unsecured Creditors


 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
                                                  )
  In re:                                          ) Chapter 11
                                                  )
  HVI CAT CANYON, INC.                            ) Case No. 19-12417 (MEW)
                                                  )
                         Debtor.                  )
                                                  )

                       NOTICE OF APPEARANCE AND REQUEST
                   FOR SERVICE PURSUANT TO FED. R. BANKR. P. 2002

           PLEASE TAKE NOTICE that the Official Committee of Unsecured Creditors

 appointed in the above-captioned case (the “Committee”) hereby appears by its counsel,

 Pachulski Stang Ziehl & Jones LLP (“Counsel”). Counsel hereby enters its appearance pursuant

 to section 1109(b) of Title 11 of the United States Code (the “Bankruptcy Code”) and Rule

 9010(b) of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and requests

 that the undersigned be added to the official mailing matrix and service lists in the above

 captioned chapter 11 case. Counsel requests, pursuant to Bankruptcy Rules 2002, 3017, and

 9007 and section 1109(b) of the Bankruptcy Code, that copies of all notices and pleadings given

 or required to be given in this chapter 11 case and copies of all papers served or required to be

 served in this chapter 11 case, including but not limited to, all notices (including those required


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 by Bankruptcy Rule 2002), reports, pleadings, motions, applications, lists, schedules, statements,

 chapter 11 plans, disclosure statements and all other matters arising herein or in any related

 adversary proceeding, be given and served upon the Committee through service upon Counsel, at

 the addresses, telephone, and email addresses set forth below:


  Robert J. Feinstein, Esq.                           Jeffrey N. Pomerantz, Esq.
  Richard E. Mikels, Esq.                             Maxim B. Litvak, Esq.
  PACHULSKI STANG ZIEHL & JONES                       PACHULSKI STANG ZIEHL & JONES
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        rmikels@pszjlaw.com                                   mlitvak@pszjlaw.com


         PLEASE TAKE FURTHER NOTICE that, pursuant to section 1109(b) of the

 Bankruptcy Code, the foregoing demand includes not only the notices and papers referred to in

 the Bankruptcy Rules specified above, but also includes, without limitation, orders and notices of

 any application, complaint or demand, motion, petition, pleading or request, and answering or

 reply papers filed in this case, whether formal or informal, written or oral, and whether served,

 transmitted or conveyed by mail, email, hand delivery, telephone, telegraph, telex or otherwise

 filed or made with regard to the above-captioned case and proceedings therein.

                   PLEASE TAKE FURTHER NOTICE that this Notice of Appearance and

 Request for Service Pursuant to Fed. R. Bankr. P. 2002 shall not be deemed or construed to be a

 waiver of any of the rights of the Committee, including, without limitation, to (i) have final

 orders in non-core matters entered only after de novo review by a higher court, (ii) trial by jury in

 any proceeding so triable in this case, or any case, controversy, or adversary proceeding related

 to this case, (iii) have the reference withdrawn in any matter subject to mandatory or



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 discretionary withdrawal, or (iv) any other rights, claims, actions, defenses, setoffs, or

 recoupments to which the Committee may be entitled in law or in equity, all of which rights,

 claims, actions, defenses, setoffs, and recoupments are expressly reserved.

 Dated: August 16, 2019

                                                       /s/ Robert J. Feinstein
                                                       Robert J. Feinstein, Esq.
                                                       Richard E. Mikels, Esq.
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                                                       Proposed Counsel to the Official Committee of
                                                       Unsecured Creditors




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